Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 1 of 34 Page|D 9497

THE UNITED STATES DISTRICT COURT
MIDDLE DlSTRlCT OF FLOR[I)A
TAMPA DlVlSlON

ANGELA DEBOSE,
Plaintifi`,

v. CASE NO. 8:15-cv-02787-EAK-AEP

UNIVERSITY OF SOUTH FLORIDA

BOARD OF TRUSTEES, UNIVERSITY

OF SOUTH FLORIDA, AND

ELLUCIAN, L.P.,
Defendants.

“-.‘-"-"_'\-r"q-l"w"q."\-i`u"\-F

 

AMENDED NOTICE OF APPEAL'

Notice is hereby given that Plaintiii` Angela DeBese appeals to the United States Court of
Appeals for the E|eventh Cireuit from the Order entered en .Iu|y 20. 2018 (see ECF Ne. 293,
Exhibit A); from the July 30, 2018 Order (.s'ee ECF No. 296, Exhibit B); from the February B,
2017 Order (ECF 86, Exhibit C); from the August ?, 201 ? Orcler (ECF 144, Exhibit D); from
Order {E.CF 31 l, Exhibit E); and 0pini0n (ECF 359. Exhibit F). The Final Judgments of the
Court were entered on Oetober 2, 2018 and Oetober 5. 2013. (ECF 4?'4, 4'}'5, end 482* Exhibit
G)-

Respeetfully submitted,

fsi Angei'a DeBo.s'e
Angeia DeBose

 

110'? W. Kirby Street
Tampa, Fiorida 33604
Telephene: (813) 932-6959
Ernail: awdebose@aol.eom

 

' Elevemh Circuit Cour[ Case No. 18-13545. Plainlif`t`s previous “Amended" Nntiee of`Appeal was her initial or
original Notiee of Appeal of the Orclers at ECF No. 293 and ECF No. 296. rl`h\=:rel"nre, this is Plaintiff"s first
amendment.

Case 8:15-cv-O2787-EAK-AEP Document 532 Filed 12/11/18 Page 2 of 34 Page|D 9498

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that on this M day of December, 2018, the above and foregoing
was filed with the Clerk of the Court, which Will email the folloMng: Richard C. MeCrea, .ir.1
Greenberg Traurig, P.A., 101 East Kennedy Boulevard, Suite 1900, Tampa. Florida 33602-5148;
emai]: (meerear@gtlaw.com) and Kimberly Doud, L.ittler Mendelson, 111 North Magnolia
Avenue, Suite 1250, Orlando, Florida 3280|;emai1: kdoud@littler.eom.
fsi Angefa DeBose

Angela DeBose

llOT W. Kirby Street

Tarnpa, Florida 33604

Telephone: (813) 932-6959
Email: awdebose@aol.com

Case 8:15-cv-O2787-EAK-AEP Document 532 Filed 12/11/18 Page 3 of 34 Page|D 9499

Exhibit

121212015€&8€ 8215-CV-02787-EAK-AEFEH©U]'JEM§HHQE|B§- DElliSG>GIIE/MMGIM§TEE|M 34 Page|D 9500

(Entered: 061'251'201 8)

 

06{251"201 8

288

MOTION for sanctions by Angela W. DeBose. (DeBose, Angela) (Entered: 06}2512018)

 

 

06125»’201 8

281

 

061'2?)"2018

132 _

AFFIDAVIT of` Angela DeBose re: 280 MOT[ON for sanctions 111 Suppor! ofSanctions
by Angela W. DeBose. (Attactunents: # 1 Exhibit A, # 1 Exhibit B - transcript excerpts. #
1 Exhibit C # 11 Exhjbit D 3- 5 - contract)(DcBosc, Angela) Moditied text on 612?!2018
(AG). (Entered: 06/251'2018)

ORDER of USCA: Pursuant to the llth Cir. R. 42-1(|:1) this appeal ls DISMI SSED for
want of prosecution because the appellant Angela W. DeBose failed to pay the filing and
docketing fees to the district court, or alternatively, tile a motion to proceed in forma
pauperis in the district court within the time fixed by the rules as to B Notice ot` appeal
filed by Angela W. DeBose. EOD: 6126118; USCA number: 18~12226-1<. (.TNB) (Entered:
06!27)'201 81

 

 

 

 

06)'2?:'201 8

§

NOTlCE by Ellucian Cornpany, L.P. re 219 Notice (Other), 2811 MOTION for sanctions
REGARDING PLAINTIFF£S‘ M()TI{)N FOR SANCTIONS (Doud, Kjrnberly) (Entered:
06!2?1'2018)

 

 

06!29!'201 8

284

ENDORSED ORDE;Z that Defendants shall respond to 1811 l'laintil'f's Motion for
Sanctions on or before .]uiy 9,21}18. Signed by Judge Elizaheth A. l(ovachevich on
61291'2018.(1{111'|) (E.ntered: 061'291'2018)

 

 

 

011091201 s

RESPONSE 1n Opposition re 2811 MOTION for sanctions filed by University of South
Florida Board omestees. (McCrca, Richard) (Entered:0710912018}

 

07/09!201 8

8 §

RESPONSE in Opposition re _U MOTION f`or sanctions filed by E.Ilucian Cotnpany,
L. P.. (At“tachments: # 1 Exhibit A)(Doud Kimberly] (Entered: 0')')"091'201 81

 

0?11012013'

8

NOTICE of Appearance by Nancy A. Beyer on behalf of Ellucian Company, L.P.,
Elfucian, L.P. (Beyer, Nancy) {Entered: 0?1'1012018)

 

07./1 112018

§

MOTION for leave to file Reply to Defendants' Opposition to Motion for Sanctions by
Angela W. DeBose (DeBose, Angela) (Entered: 07111!2018)

 

071'111‘2018

289

0?1"1 112018]

ENDORSED ORDER granting 18_8_ Motion for Leave to File Reply. Plaintif|'s reply
shall not exceed five (5) pages. Plaintiff shall f' le her reply on or before July 18,
2018. Signed by Judge Elizaheth A. l{ovaehevicll on 7111!`2018. (RLH) (Entered:

 

'1)111112013

 

 

*** 'I`crminated- Filer notified to re-tile with signature page *** REPLY to Response to
Motion re M MOTION f`or sanctions Pfafn!g§".s Reply to USFBOT's Oppo.rfrirm to
Morionfor Sanctinn.r filed by Ange|a W. DeBose. (DeBose, Angela) Modified text and
NEF regenerated on 711?!201 8 (KMM). (Entered: 0?!1?1'2018)

 

011"171"2018

REPLY to Response to Motion re _B MOT]ON for sanctions Pfainnj's Reply 10
USFB()T’s ()pposfrion !o Mort`onjhr Sancrions filed by Angela W DeBose. (DeBosc,
Angela} (Entered: 0711'}'1'2018}

 

 

0?/1 712018

REPLY to Responsc to Motion re 1811 MOTION for sanctions P{aint@§f's Repi'y 10

 

 

115 120.'201 s

 

293

 

  

himsn‘te .

E¢’Iucion's Opposirt`on 10 Motionfor Sanc!ions filed by An ela `W. D se. DeBose,
_ _ ___ _ __. `_`

 

wre_"'"""__-"`
.gWF(¥gi-binfnkln|)l.pi?293ol’4957251443-L_1_U-1

 

v

ENDORSED ORDER denying 2811 Plaintit'fs Motion for Sanetions. Upon review,
Plaintiff's Motion is nothing more than a thinly-veiled attempt to challenge m the
Court's summary judgment order. Plaintifl' fails to substantiate the allegations
raised in her motion, and her motion is otherwise not well-taken. As the Court

previously indicated in 215 its May 25, 2018 order, any motions di:te_d:y
22:41)

 

 

1313?3€3523:~15- 87-EAK-AE|F-!=d@tl!01§m€il|is$33-DEHSG$£E|JE{MI§F?A§€|M]° 34 Page|D

 

    
 
 

Court's summary judgment order that otherwise fail to raise meritorious bases for
reconsideration will be denied without further consideration Signed by Judge
Eli:zabe RLH Entered:071'2012018)

 

 

 

0712312018

 

 

 

USCA appeal fees received $ 505 receipt number tpaOS 1995 re 116 Notice of appeal filed
by Angeia W. DeBoSe (ARC) (Entered: 071'2312018)

 

 

07!281'201 8

MOTION for Reconsideralion re 293 Order on Motion for Sanctions 1911 Denying
Reques!ed Refief by Angela W. DeBose. (DeBose, Angela) (Entered: 0?1'2812018)

 

0?1301'2018

8

MOT]ON to Strike _6_& Memorandurn in opposition _rj_¢§ and 841 Ajidavits as a Sbum by
Angela W. DeBose. [Attachment.s: # 1 Exhibit Exhibits A-G, # 1 Afiidavit 7-28-18
Aiiidavit of Delonjie Tyson, # 1 Exhibit 2-18-18 Deposition of Delonjie Tyson, # 1
Exhibit 4-12-18 Sworn Police Statement of Kim Bushe~Whiteman, # § Afiidavit 3-16-17
Atiidavit of Kim 1311shc-Whiten‘tan}i(DelFiose1 Angela) Motions referred to Magisn~ate
]udge Anthony E. Pot‘celli (Entered: 071301'201 81

 

 

0?1301'20| 8

296

ENI)ORSED ORDER denying 224 Motion for Reeonsideration. Signed by .ludge
Elizabeth A. Kovacbevieh on 71301’2018.(RLH)(Entered: 0?1“30!2018)

 

 

 

07130[2018

Emergency MOTION to Continue Tria£ Dote and For Addr'rr'onrri Timefbr Trial by
Angela W. DeBose. (Attachments: # 1 Exhibit 04- 20-18 Deposition ot`Ralph Wilcox, # 2
Exhibi107-10-18 Deposition of` Ralph Wilcox)(DeBose Angela) (Entered: _0'?1301'2018)

 

0?1'3112018

298

(RLl-l} (Entered: 07/31/2018)

ENDORSED ORDER that, on or before August 2, 2018, Del'endant University of
South Florida Board of Trustees shall f le its response to 191 Plaintifl‘s emergency
motion to continue trial. Signed by Judge Elizabeth A. Kovachevieh on 7131!2018.

 

0'111011201 s

 

RESPONSE m Opposition re 2_9'1r Emergency MO_T[ON to Continue Trr‘ai Date and For
Addr'fiono! Fimefor Trioi filed by University ot South Florida Board of Trustees.
(McCrea, Richard) (Entered:08/0112018)

 

081"011'2018

 

RESPONSE 1n Opposition re 1515 MOTION to Strike _o_o Mernorandum 111 opposition id
and 8_4 Ajtdavz'rs ns a Shom filed by University of South Florida Board of Trustees.
(McCrea, Richard) (Entered: 08.'011'201 81

 

081'021201 8

MOT[ON for leave to file Reply to Def`endant's Opposition 10 Motion 10 Strike Ajidavirs
us a Sham, jbr Suncrious. andfor Dej£intr Judgment by Ange|a W. DeBose. (DcBose,
Angela) (Entered: 08102!2018)

 

03102,'2013 '

 

MOTION f`or leave to tile A Repiy to Det`endant's Opposition to Continuance by Angela
W. DeBose. (DeBose, Angela) (Entered: 08102!2018)

 

081"021'2018

303

ENI)ORSED ORDE.R denying without prejudice 211 Motion to Continoe. Signed by
Judge Elizabeth A. Kovachevieh on 8!21'20]8. (RLI-l) (Entered: 08!02/2018)

 

 

0310212018

304

 

ENDORSED ORI)ER denying as moot 3111 Motion for Leave to File. Signed by
.ludge Elizabeth A. Kovaehevich on 812/2018. (RLH) (Entered: 08!021'2018)

 

08/03/2018

305

ENI)ORSED ORDER granting 101 Motion for Leave to File a Reply. Plaintiff shall
have seven days from the date of this order to tile a reply, not to exceed five pages in
length Signed by Magistrate Judge Anthony E. Porcelli on 8!31‘20]8. (JMF)
(Entered: 081'0312018)

 

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3_0_&

 

REPLY to Response to Motion re 101 MOTION for leave to file Reply to Defendant's
Opposition 10 Motion to Srrike Ajidavits as a Shom for Sanctions, ondfor Defaulr
Judgmenr filed by Angela W. DeBose. (DeBose_ Angela) (Entered: 081'06»’201 8)

 

0810?1'2018

 

htips.'I.-'ecf.'|‘lmd.usooul'ts.goviogl-binmklRpl.pl?293024957'251 443-L_1 _D-1

§§

 

 

 

NOTICE by University of South Florida Board of Trustees ofFil'ing Pre¢‘rioi Storemen!

 

23!4'0

Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 6 of 34 Page|D 9502

Exhibit

12*2"2°13€&8€ 8215-CV-02787-EAK-AEFM®UFJEH§NBEBBE- DEHU@®E}I-Mi$@g§|$i@f 34 Page|D 9503

Conrt's summary judgment order that otherwise fail to raise meritorious bases for
reconsideration will be denied without further consideration. Signed by Judge
Elizabeth A. Kovaehevich on 71201"2018. (RLl-l) (Entered: 0'?/20!2018)

 

 

 

0'?/231'2018

USCA appeal fees rec_eived $ 505 receipt number ip3051995 re l'Z§ Notice ol" appeal filed
by Angela W. DeBose (ARC) (Entered: 071'23!2018)

 

 

0?12112013

MOTI()N for Reconsideration re 293 Order on Motion for 8anctions_ 289 Denying
Reques!co' Rehef by Angela W. DeBose. (DeBoSe, Angela) (Entered. 0'1'1'28/2018]

 

0'1'/301'2018

MCITION to Strike §§ Memorandurn in opposition §§ and iii Ajtdavfts as 11 Sham by
Angela W. DeBose. (Atlachments: # l Exl'libil Exhibits A-G, # g Aliidavit 7-28-18
Affidavit of Delonjie Tyson, # 3 Exhibit '?-18-18 Deposition of Delonjie Tyson1 # 1
Exhibit 4- 12- 18 Swom P'olice Statement of Kim Bushe-Whiteman # § Aflidavit 3 16-1'1'
Allidavit of Kim Bushe-Whiteman)(DeBose Angela) Motions referred to Magisl.mte
_:0'.`+'1‘3!]1'2018)

 

 

 

 

0?!301'2018
"""'*-~___

296

EbillORSEll ORDER denying m Motion l'or Reeonsideration. Signed by Judge
Elizabeth A. Kovaehevich on 7130[2018. (RLH] (Entered: 0'?1'301'2018}

  

 

 

 

_______-l
07/30.~"20'1 8

el

Emergency MOTION to Continue Trr'al Dm'e and bar Add:!ional 1"1`11111 for 'I`rial by
Angela W. DeBose. (Attachments: # l Exhibit 04-20-18 Deposition of Ralph Wilcox, # 2
Exhibit 0?-10-18 Deposition of Ralph Wilcox)(DeBoSe. Angela) {Entered: 0'?1'301'2018)

 

 

0?1'311'2018

n 2_93

 

ENI)ORSED ORDER that, on or before August 2, 2018, llefendant University of
South Florida Board of Trustees shall file its response to §§ Plaintiff's emergency
motion to continue trial. Signed by .ludge Elizabeth A. Kovachevieh on 71"31!'211'18.
(RLH) (Entered: 0713|!2018)

 

 

081'011'2018

B

 

RESPONSE m Opposition re 2_9'? Ernergency MOTION to Continue Tr1`111' Dore and For
Addi!iona!1 Timefor Trr'al t` led by University of South Florida Board of Trustees.
(McCrea., Richard) (Entered: 081'01/201 8]

 

 

081'0112018

RESPONSE in Opposition re 22§ MOT[ON to Strike §§ Memorandum in opposition §§
and M Ajtdavi!s 1111 11 .S'hom filed by University of South Florida Board of Trustees.
(McCrea, Richard) (Entered: 081'011‘2018)

 

08!02!'201 8

MOTION for leave to tile Reply to Del`endant's Opposition 10 Morion to S!rfke ./lj'ia'avi!s
as a Sham, for .5'1;1111:11'011.1', andfor Defaull Judgmen! by Angela W. DeBose. (DeBose,
Ange|a) (Entered: 081‘02!201 8)

 

081’02!201 8

3_()§

MOTION for leave to file A Reply to Defendant's Opposition to Continuance by Angela
W. DeBose. (DeBose, Angela) (Entered: 08!02!2018)

 

081'021‘201 8

303

ENDORSED ORDER denying without prejudice §§ Motion to Continue. Signed by
Judge Elizabeth A. Kovachevieh on 8121"2|]18. (RLH) (Entered: 08/02!2018]

 

Uoé/§iil s

304

ENDORSED ORDER denying as moot 3111 Molion for Leave to File. Signed by
Judge Elizabeth A. Kovachevicb on 8121'2[118.(1{]_.1-1) (Entered: 081021‘2018)

 

08)’03/201 8

305

ENDORSED ORDER granting Ml Motion for Leave to Filc a Reply. Plainliff shall
have seven days from the date of this order to tile a reply, not to exceed five pages iu
length. Signed by Magistrate .ludge Authony E. Porcelli on 8131‘2|118. (.IMF)
(Entered: 08!031'2018)

 

'031061201 3

M .

REPLY to Response to Molion re 311 MOTION f`or leave to tile Reply to Del`endant'S
Opposition 10 Motion fo S1r1'ke AJMdavit.r 1111 a Sham, jur Sanctions, and_)‘or Defauli'
Judgmen.t filed by Angela W. De Bose. (DeBose, Angela) (Entered.' 081“061'2018)

 

081‘071'2018

 

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3_0_1

 

 

 

 

NOTICE by University of Soutb Florida Board of Trustees ofFih'ng Prerrial Smtemem

 

23.1'4[1

Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 8 of 34 Page|D 9504

Exhibit

121'21‘2013€&8€ 8215-CV-02787-EAK-AEMUCUM€W§$BB. D|&HQ(¢QJJR!MiMq€|&HBf 34 Page|D 9505

on behalf of University of South Florida Board of Trustees (McCrea, Richard) (Entered:
011'31f2017)

 

021"011‘2017

RESPONSE in Opposition re G; MOT[ON to Compel Against Ellucian to produce
documents filed by Ellucian 'C':)mpany1 L_ P_ Ellucian l.,. P.. (Attachments: # ]_ Exhibit A,
# 2 Exhibit B, # l Exhjbit C)(Doud Kimberly) (Entered: 02!011'20 17)

 

02!071'201 7

***TERM[NATED~COUNSEL NOTIFIED TO REFILE USlNG SAME ECF LOG]N
ASND SIGNATUR.E BLOCK*** NOTICE by Angela W. DeBose re §_1 MOTION for
sanctions of F 171'113 Dor:umen! (Attachments: # l Attachment to NOF)['[hompson. James)
Modised on 21712011 (Lss). (Emered; 021071201'1)

 

021'071"20 1 7

NOTICE by Angela W. DeBose re gri MOTION for sanctions of F 17ng Documen!
{Attachments: # _l_ Attachment to NOF)(Thompson, James) (Entered: 0270772017)

 

021‘07!20 17

NOTICE by University of` South Florida Board of Trustees re §_L MOTION f`or sanctions
(Attachments: # l Aflidsvit Victol'ia .lohlison, # 3 Aff`ldavit Suzanne Bishop. # 3_
Affidavit Lois Palmer, # § Aflidavit Beverly lerry)(McCrea, chhard) (Entered:
021'0772017)

 

0210312611

NOTICE by Angela W. DeBosc quediation (Manuel Menendez, Media!or) (Thompson,

 

,¢r"

 

 

 

82/081’2|]] 7

02108/2017

 

ENDORSED ORDER denying §j_ l\:l_otion for Sanctions; denying without prejudice
§§ Motion to Compel, for the reasons stated at the hearing. Signed by Magistrate
.Iud e Anthony E. Porcelli on 21"8!2{}17. (JMF) [Entercd: 02708!2017)

Minnte Entry. Proceedings held before n ony . .
HEAR]NG held ott 278¢’2[}1 7 re M MOT[ON to Compel Against Ellucian to produce
documents filed by Angcla W. DeBose §_L MOTION f`or sanctions filed by Angela W.
DeBose. (digital] (LV] (Entered: 02!08!20|7]

   

 

   

 

021'081'2017

 

NOTICE by University of` South Florida Board of 'l rustees of(,'orrection (McCrea
Richard) 113111¢1¢11.0210812011)

 

02713/2017

Unopposed MOTION for Extension of Time to File ResponsefReply as to § MOTION
for summary judgment by Angela W. DeBose. (l-Iopkinson Kathryn) Motions referred to
l\dagistrate Judgc Anthony E. Porcelli. (Entered: 021’131’2017]

 

02,'141'2017

Unopposed MOTION for Extension of lime to File ResponsefReply as to 6_8 MOTION

for summary judgment by Angela W. DeBose. (Hopkinson, Kathryn) Motions referred to
Magistrate lodge Anthony E. Porcelli. (Entered: 027]41'2017)

 

021r 141"201 7

91

ENDORSED ORDER granting 82 Motion for Extension of Time to File
Respouse)‘Reply to motion for summary judgment. Responses due by 371’?!2|]17.
Signed by .]udge Elizabeth A. Kovache°vicb on 21'141"2|]17. (E.JJ] [Entered: 027141"2017)

 

027141'2017

92

ENDORSED ORDER granting 28 Motion for Extension of Time to File response to
motion for summary judgment ResponsefReply Re:ponscs due by 37171'201 7. Signed
by Judge Elizabeth A. Kovachevicb on 27141‘2|}17. (EJ.]) (Entered: 1321F 147201 7]

 

021'161'2017

MOTION for .I ames Thompson and Kathryn Hopkinson to withdraw as attorney by
Angeia W. DeBose. (Thompson, _lames) (Entered: 0271672017)

 

 

021’171'2017

suPPLEMENT re 21 MoTloN 101 James momps¢m and samsiuopkinson 10
withdraw as attorney by Angela W. DeBose. (Thompson, lames) (Entered: 02!]71'2017)

 

021'1772017

 

 

 

OBJECTION re L MOTION for Jarnes Thompson and Kathryn Hopkinson to withdraw
as attorney , % Supplement by Angela W. DeBose by Angela W. DeBose. (LSS)
(Entered: 0211'11201'1)

 

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Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 10 of 34 Page|D 9506

Exhibit

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UNITED STATES DISTRICT COURT
MIDDLE DlSTRICT OF FLORjDA

 

TAMPA DiVISION
ANGELA W. DEBOSE,
Plaintiti`.
V. Case No. 8:15-cv-2787-T-17AEP
USF BOARD OF TRUSTEES.
er nf..
Defendants.
f
M

This cause is before the Court upon Plaintif`f"s Motion for Sanctions against Det`endant
University of` South Florida Board of` Trustees (“USFBOT”) for Spoliation and Nondisclosure
(“Motion”) (Doc. 123), in which Plaintiff` requests that (l) she be pertained to submit evidence
at the trial pertaining to Defendant’s destruction of` the discoverable documents; (2) that the
Court instruct the jury that it should determine that the shredded evidence was highly adverse
to Def`endant; (3) that the Court strike certain denials by Defendant; and (4) that the Court grant
Plaintif`f a default judgment on her retaliation claim. In support of` her Motion, Plaintifi` has
filed numerous affidavits and exhibits (See Docs. 124 & 125). ln response., Det`endant filed a
Memorandum ofLaw in Opposition to Plaintit`f’s Motion for Sanctions (Doc. 128), and Plaintifi`
filed a Reply (Doc. 135) in response to Def`endant’s memorandum. The Court held a hearing
on the matter on May 23, 2017. Upon due consideration and being otherwise fully advised, the
Court finds, for the reasons that follow, that Plaintiff"s Motion is without merit and due to be

denied.

 

 

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I. Baekground

Plaintiff is before the Court requesting severe sanctions against Defendant for alleged
spoliation. Notably, in a separate matter, Plaintiff sought similar sanctions for spoliation of an
alleged voicernail. and the Court denied the Plaintiff’s request by concluding that Plaintiff` failed
to meet her burden. (See Case No. 8:]5-mc-18-T-17MAP, Doc. 85 (stating that it is doubtful
Plaintiff` has satisfied any of the elements necessary for the Court to award spoliation
sanctions)). The sanctions requested in the instant Motion were originally pursued in Plaintif‘f”s
Motion for Sanctions against Def`endant for Intentional Shredding of` Discoverable Documents
{“Original Motion”) (Doc- 61), filed on December 30, 2016. The Court conducted a hearing
on the Original Motion on Februa.ry 8, 2017, during which the Court announced on the record
that Plaintiff’s Oi'iginal Motion was deficient on a number of fronts, including: {l) the failure
to identify with specificity the categories of records at issue; (2) the failure to demonstrate that
the records at issue were requested in discovery and Defendant failed to produce the requested
discovery; and (3) the failure to meet the requisite burden regarding prejudice and culpability.
(See Hearing Trauscript, Doc. 103 at 35-42). Significantly, the extended discovery period in
this case ran from March 1, 2016, through Decernber 31_, 2016, and al no time did Plaintif`f file
a motion seeking to compel Defendant to produce documents that Defendant allegedly failed
to produce Rather, Plaintiff` filed her Original Motion (Doc. 61 ).

As the Court noted during the Febmary 8, 2017 hearing, Plaintiff established that
Def`endant shredded documents out of her departmental personnel file after it was obligated to
preserve all relevant information for the instant litigation l-Iowever, Defendant asserted that
the documents that were shredded were duplicates of documents maintained in PIaintist
personnel file maintained by Defendant“s human resources office Thus, the issues framed

during the Februa.ry 8, 2017 hearing were (1) whether Plaintiff could establish what types of

 

 

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documents were lost as a result of the shredding of her departmental personnel file; (2) did
Defendant act in bad faith in shredding the departmental personnel file; and (3) how was
Plaintiff prejudiced as a result of the shredding of the departmental personnel file. Notably,
Plaintiff` failed to articulate in the Original Motion what types of documents were at issue. Thus,
the Court asked Plaintist attomeyl to specifically articulate what types of` documents were
allegedly lost as a result of the shredding of the departmental personnel file, and Plaintiff`s
attomey identified during the Fcbruary 8, 2017 hearing, an employinth “contract . . ., e-mails
. . .., draft versions of' the Ellucian report, the exit interview with Caurie Wa,ddell and telephone
records." (Doc. 103 at 19-20; 37-42.) The Court denied Plaintif`f’s Original Motion by finding
that Plaintiff failed to meet her burden in establishing the requisite bad faith culpability on
behalf of Defendant and the requisite prejudice resulting to Plaintiff_ (See Doc. 103 at 37-42.)
Subsequently, F'laintiff`, proceeding pro se, filed a Motion for Clarification and Limited
Reconsideration of` this Court’s Order Denying Plaintiff‘ s Motion for Sanctions (Doc. 98), and
a Motion to Allow Oral Testimony at floating (Doc. 1 1 1)_, seeking leave of Court to allow live
testimony_ The Court denied Plaintif`f`s request to present live testimony (see Doc. 113) and
Plaintiff" s request for clarification (see Doc. 122) but gave Plaintif`f ten days to file a renewed
motion for sanctions given Plaintif`f’s assertion of new evidence pertaining to her spoliation
arguments made in the Original Motion for sanctions (ld.)

Beyond the categories of documents identified by Plaintiff during the February 3, 2017
hearing, Plaintiff` now asserts six additional categories of documents are at issue. Specifically.
Plaintiff asserts for the first time in this action that the following documents were lost as a result

of the shredding of her departmental personnel file: (l} documents containing proof that she

 

1 Notably1 Plaintiff was represented by counsel in pursuit of the Original Motion and is now
proceeding pro se in pursuit of the instant Motion.

 

 

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had experience with financial aid leveraging systems, fee waivers, and the National Student
Loan Data Service, which would have qualified her for promotion to the position of Assistant
Vice President of Enrollrnent Planning and Management (Doc. 124, ‘|l o(a)); (2) certificates,
awards, correspondence1 and projects attesting to Plaintit`f"s history of collaboration and
achievement, as weil as Plaint.iii"s many contributions to student success (Doc. 124, fl G(b)); (3)
documents containing information about her actions With respect to Transt`el‘ Articulation_.
Deg,ree Works and Tracking, and information about white male counterparts and their failures
with respect to the degree auditing program (Doc. 124, 1[ 6(c)); (4) documents that allegedly
may corroborate that there was an alleged agreement to extend Plaintit`f"s employment through
2019 (Doc. 124, 1 |S{d)); (5) e-rnails that would prove Defendants conspired to terminate
Plaintif`f` (Doc. 124, jj 6(e)); and (6) documents that contained information about Dr. Ra]ph
Wilcox giving a bad reference for other employees, Dr. Wilcox’s “Jekyll-Hydc treatment” of
Plaintiff`, and his use of racially-charged, offensive language (Doc. 124, 11 G(f).)
ll. Discussion

District courts maintain broad discretion to impose sanctions, a power which “derives
from the court’s inherent power to manage its own affairs and to achieve the orderly and
expeditious disposition of cases.” Ftary v. Daimi'er Chrj.)st‘er Cnv;,r).1 427 F.3d 939, 944 (l lth
Cir. 2005) (citation omitted). In imposing sanctions for discovery abuses, such as spoliation,
district courts seek both to prevent unfair prejudice to litigants and to ensure the integrity of the
discovery process. l'o'. (citation omitted). “Spoliation is the intentional destruction. mutilation,
alteration, or concealment of evidence_” Arthrex, !nc. v. Porcns Mert, LLC, No. 2:10-cv-151-
FtM-.’}BDNF, 2014 WL 2742813, at *l (M.D. Fla. luna 10, 2014) (citation and quotation marks
omitted). “To determine whether and what sanctions arc warranted for spoliation of evidence.

courts should primarily consider the extent of prej udice caused by the spoliation (based on the

 

 

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importance of the evidence to the case}, whether that prejudice can be cured, and the culpability
of the spoliator." Oil Equip. Co. fnc_ v. Modern Weldr'ng Cn. lnc_, 661 F. App’X 646, 652 (l lth
Cir. 2016). ln making such determination1 "[d]ismissal represents the most severe sanction
available to a federal court, and therefore should only be exercised where there is a showing of
bad faith and where lesser sanctions will not sutiice.” Flwy, 427 F.3d at 944 (citation omittcd).

The party seeking spoliation establishes its burden by proving {l) the missing evidence
existed alone time; (2} the alleged spoliator had a duty to preserve the evidence; and (3) the
evidence was crucial to the movant being able to prove its prima facie case or defense Peeler
v. KVH l'ndrr.r., !nc., Co. 8:12-cv-1584-T-33TGW, 2013 WL 38?1420, at *4 (M.D. Fla. July 25,
2013) (citation omitted); see also Green LerrfNursery v. E.l. DuPont De Nemorrr.s' and Cr)., 341
F.3d 1292, 1303 {l ith Cir. 2003] (tinding that the plaintiff must demonstrate it was unable to
prove his cause of action due to the unavailability of the destroyed evidence). Courts do not
hold the “prejudiced party to too strict a standard of proof regarding the likely contents of the
destroyed evidence because doing so allows the spoliators to profit from the destruction of
evidence.” S.E. Mechanical Servs., Inc. v_ Brody. 657 F. Supp. 2d 1293, 1300 {M.D. Fla. 2009).
However, courts do not “treat missing evidence with an adverse inference unless the
circumstances surrounding the missing evidence indicates bad faith such as tampering with
evidence.” Arrhrcx, fnc., 2014 WL 2742813, at *l (citation omitted].

Here, it is uncontested that in the summer of 2015 Plaintif`t’s departmental personnel
file was shredded. And, as the Court has previously stated (see Doc. 103 at 39}, Defenth had
a duty to preserve all relevant information pertaining to Plaintif`:f’s claims in the summer of
20]5, when the departmental personnel file was shredded. This duty was, at a minimum,
triggered by Plaintit’f's claims of spoliation of a voice message filed in Casc No. I$-mc-lS-T-

l?MAP, which was initiated in February, 2015. Thus, given that a duty to preserve existed

 

 

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when the Plaintiff`s departmental personnel tile was shredded1 what remains at issue are: (1)
whether Defendant acted with bad faith in the shredding of documents in Plaintiff"s
departmental personnel file; (2) whether relevant documents were lost as a result of the
shredding; and, if so, (3) to what extent the information was important to the case and could the
information be available tiorn other sources. In other words, what was the level of culpability
of Defendant when the departmental personnel file was shredded, and what was the resulting
prejudice to Plaintiff'?

As to the level of culpability, the Court previously concluded that Plajntiff failed to
establish that Defendant acted in bad faith. (See Doc. 103 at 40.) Specitically, the Court
concluded that:

the Court is also satisfied that there is at this time1 based upon the

record, no showing of bad faith; that is, based upon the affidavits

of Palmer, Bishop and Johnsoni it clearly is demonstrated that

there was a destruction of` records independent of the plaintist

personnel file, that is, the plaintiffs personnel file was not singled

out with an intent to destroy what may be relevant records for the

case.

That is significant to the Court because that highlights notably

that there was not an express intent to single out any records that

may be relevant to this case to ensure that plaintiff would not

have access to those recordsT so not an intent to prejudice the

defendant by not preserving relevant documents
(Id.; see also Doc. 66, Exs. 1-3.) Plajntiff has not submitted any new or additional evidence to
establish her burden of demonstrating that Defenth acted in bad faith. Plaintiff` submitted an
affidavit by Kimberly Bushe-Whiteman, in which Ms. Bushe-Whiteman attests that:
“[e]veryone believed it had something to do with Angela. They got rid of everyone else’s file
because they wanted to get rid of hers.” (Doc. 125 at 6, ‘[| 16.) As Defendant correctly argucs,

Ms. Bushe~Whiteman’s statement is clear hearsay, conjecture_. and an unsubstantiated opinion1

 

 

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Plaintiff simply has failed to produce any sound and credible evidence that Defendant acted
with bad faith in the shredding of her departmental personnel file.

In turn, the Court finds entirely credible the sworn statements by l`:lishop1 Palrner and
Johnson. {See Doc. 66-1; 66-2; and 66-3.) Specitically, the Court accepts that the Plaintiff’s
department personnel file was shredded because it, along with other departmental files were
deemed to be primarily duplicates of the official USF personnel files maintained by human
resources at USF.2 The fact that all departmental files were shredded at the same time is more
indicative of a routine retention policy decision, as compared to an intent to deprive Plaintiii` of
relevant information to the instant litigation. Significantly1 all department employees were
notified in advance that the files were going to be shredded. Certainly_, Plaintiff’ s Motion would
be moot had Defenth also notified Plaintiff in advance but the fact that all active employees
were notified demonstrates that the Defenth did not covertly destroy the personnel files in an
attempt to conceal the shredding of the tiles from Plaintiff. Last, there is no credible evidence
that the decision makers in Plaintiff’s case were aware of or involved in the shredding of the
department personnel files. Plaintiff relies upon Ms. Bushe-Whiteman’s sworn statement that
she “was also told that, ‘Suzanne said that Alexis told her to get rid of her tiles and said you’t\e
not supposed to have them.”’ (Doc. l25 at 5 1| 15.) However, this statement is unreliable as it
is hearsay that is un-attributable to any source

In essence Plaintifi`, based upon unsupported hearsay statements and conjecture
requests that the Court conclude that numerous individuals, including, amongst others, Lois
Palmer, Victoria Johnson and Susan McCloslcey Bishop, all agreed to lie under oath and agreed

to execute elaborate steps to shred information directly relevant to Plaintiff’s claims in this case.

 

2 Notably. USF Regulation 10.209 states that: “[t]he department where the employee is
assigned may retain duplicate copies of documents contained in the official personnel files.“
(Doc. 66-4.)

 

 

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The Court is unpersuaded by Plaintiff' s renewed Motion. Rather, yet again, Plaintiff has simply
failed to provide any competent evidence to demonstrate that Defendant acted with bad faith in
the shredding cf her departmental personnel file.

Additionally, beyond Plaintif`i"s inability to establish the requisite culpability of
Defendant, Plaintiff has also failed to establish the requisite prejudice as a result of the allegedly
spoliated documents. Plaintiff`s burden, at a minimum. is athreshold showing that the allegedly
destroyed documents were relevant to Plajntiff’s claim, but in order to obtain Plaintit`f"s
requested sanctions, as Defenth correctly notes, Plaintifl` is required to demonstrate that the
allegedly spoliated evidence was crucial to prove her primafacfe case. Keen v. Bovie Medicat
Corp.,No. 8:12-0v~305»-T-24EAJ, 2013 WL 3832382 (M.D. Fla. July 23, 2013]; Unr°ted Stutes
ex. rel Kr'ng v. DSE, fm:., 8:08-cv-2426-T-23EA.|, 2013 WL 610531 (M.D. F|a. .Ian. ?, 2013).
At the February 8, 2017 hearing, the Court specifically requested that Plaintiff articulate the
categories of documents she asserted were destroyed by Defendant when her departmental
personnel tile was shredded, and an employment “contract . . . e-mails . . . , draft versions of
the Ellucian report, the exit interview with Caurie Waddell and telephone rccords" were the
only categories identified by Plaintiff. (Doc. 103 at 19-20; 3?-42.) Now, for the first time,
Plaintiff asserts that also lost as a result of the shredding of her departmental personnel file
were: (l) documents containing proof that she had experience with financial aid leveraging
systems, fee waivers, the National Student Loan Data Service, which would have qualified her
for promotion to the position of Assistant Viee President of Enrollmerit Planning and
Management (Doc. 124, 11 G{a)); (2) certificates, awards, correspondence1 and projects attesting
to Plaintiit"s history of collaboration and achievement, as well as Plaintil’t" s many contributions
to student success (Doc. 124, ‘|`l 6(b)); (3) documents containing information about her actions

with respect to Transfer Articulation, Degree Works and Tracking, and information about white

 

 

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male counterparts and their failures with respect to the degree auditing program (Doc. 124, 1|
6(0}); (4) documents that allegedly may corroborate that there was an alleged agreement to
extend Plaintiff`s employment through 2019 (Doc. 124, '[[ G(d)); (5) e-mails that would prove
Defendants conspired to terminate PIaintift`(Doc. 124, 1[ 6(e)); and (6) documents that contained
information about Dr. Raiph Wilcox giving a bad reference for other employees, Dr. Wilcox’s
“Jekyll-Hyde treatment” of F'laintiff, and his use of racially-charged, offensive language (Doc.
124, il 6{0.}

Signif`rcantly, Plaintiff oii`ers no explanation to reconcile how she is now suddenly able
to identify these additional specific categories of documents that were allegedly in her
departmental personnel file, when she was unable to articulate these documents previously in
any communication to Defendant during either the discovery process, in the Original Motion
(Doc. 61), or to the Court upon a specific request on February S, 2017. Thus, given that this is
the first time Plaintiff has alleged spoliation of these categories of documents, the Court is
compelled to question the credibility of this new assertion that these categories of documents
were destroyed as a result of Defendant’s shredding of the departmental personnel file_
Although the ultimate burden to establish prejudice rests with a requesting party1 at times that
burden can be difficult to meet given that the requesting party may not know what documents
were destroyed by a producing party’s alleged spoliation. flowever, that is not the circumstance
in this matter. Notably, Plaintiff` asserted that non-duplicative documents that were destroyed
when her departmental personnel file was shredded are documents she specifically ensured
were placed in her departmental personnel tile. Thus, Plai ntiif was in a position to know exactly
what documents were in her departmental personnel file that should have been produced during
discovery, but yet the first time Plaintiff alleges spoliation of these new six categories of

documents is in the pending Motion (Doc. 123). Significantly, Plaintiff` relies predominately

 

 

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upon her own self-serving statements as evidence that the new categories of documents were
spoliated when her departmental personnel file was shredded. Giveu the timing of Plaintiff’s
allegations regarding the new categories of documents, and the fact that Plaintiff provided no
other competent evidence to establish that the new categories of documents were in Plaintiff’s
departmental personnel file, the Court finds that Plaintif`f has failed to meet her burden in
establishing prejudice because the Court concludes Plaintiff has failed to sufficiently establish
that the new documents were in fact spoliated. Additionally, even if Plaintiff was able to
establish that the new categories of documents were spoliated when her departmental personnel
file was shredded, the Court also finds, as Defendant has argued, that Plaintiff failed to establish
how any of the new categories of documents were crucial to her case. Sce QBE lns. Cor,u. v.
Jor'dan Err!erpri.r'es, 236 F.R.D. 694, 698 (S.D. Fla_ 2012) (“[d]efendantis failure to establish
that the allegedly spoliated evidence was ‘crucial’ to its defense is alone reason to deny the
motion”); Socos v. NW Mur. Life Ins., Co.. No. 0?-20336-CIV, 20I0 WL 3894142, at *4 (S.D.
Fla. Sept. 30, 2010) (“the burden of proof of spoliation rests upon the [moving party]”).
lll. Conclusion

For the reasons stated herein, Plaintiff`s requested sanctions that (l) she be permitted to
submit evidence at the trial pertaining to Defendant’s destruction of the discoverable
documents; (2) the Court instruct the jury that it should determine that the shredded evidence
was highly adverse to Defendant; (3) the Court strike certain denials by Defendant; and (4) the
Court grant Plaintif'f a default judgment on her retaliation claim are unwarranted given that
Plaintiff has failed to establish that Defendant acted with bad faith and that Plaintiff was

prejudiced by Defendant’s destruction of her departmental personnel file.

 

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Accordingly, upon careful consideration it is ORDERED that Plaintift’s renewed
Motion for Sanctions against Defendant Univcrsity of South Florida Board of Trustees for

Spoliation and Nondisclosure (Doc. 123] is DENIED.

D()NE AND ORDEREI) in Tarnpa, Florida, on this Tth day of August, 201 ’)'.

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aNrHoNv E. beechum
Unlted States Magistrate lodge

cc: Counsel of Record
Plaintiff, pro .s'e

 

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Case 8:15-cv-O2787-EAK-AEP Document 532 Filed 12/11/18 Page 22 ot 34 Page|D 9518

Exhibit

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(Attachrncnts: # l Exhibit Pretrial Statement, # 2 Exhibit Exhibit A to Pretrial Statement)
(McCrea, Ri`chard) (Entered: (JSIUFIZOIS)

 

08)'0'7{2018

MOTION to extend time to File a Pretria| Staternerrt Peiio'ing the Courr's Review of
Pirrint.§§’s Mofioii to Sirike Sham Ajr`daviis. for Sanclions, undj‘br quouft Jirr:r'gmerir and
Repiy by Angela W. DeBose. (Attachments: # _l_ E`.xhibit Exhibit - Scheduling Emails)
(DeBose, Augela} (Entered: US{O'L"ZOI 8)

 

 

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309

ENDORSED ORDER REFERRING MOTION: 103 MOTION to extend time to
File a Pretrial Statemerrt Pending the Courr'.s Review ofPfeiritr:O"'s Mor‘iorr to Srrr'ke
Shrrm A_f)'idavi£s,fur Srrnci’iorrs, undfor qurruit .Iudgmerri amf Repi'y filed by Angela
W. DeBose. Signed by Judge Elizaheth A. Kovachcvich on 818!`2|]'18. (RLI~I] Motioris
referred to Magistrate Judge Anthoriy E. Pureel]i. [Entered: 08!08:‘2018)

 

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310

ENDORSED ORDER denying §§ Motion to extend time. Ariy outstanding issues
will he addressed at the Final Pretr'ial Corrference. Sigried by Magistr'ate Judge
_A.o.tlmny_&£orcelli on 8!8!2018.(.|1\1¥`} (Entered: 08!08

   

 

 

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311

ENBORSED ORI)ER denying _2_25 Motion to Strike for the reasons articulated
during the Final Pretrial Conferenee. Signed by Magistrate Judge Antlrony E.
Poreelli on 8!14)2018. (.IMF) (Entered: 08»’141'201 8)

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PRETRIAL commission herd an somers (digiiaii (i.v) (Enrered: osri=irzoisi

 

 

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PRE'I`RIAL 0RDER. See Order for details. Signed by Magistrate Judge Arithony E.
Porcelli orr 8!14{2|]18. (JMF) {Entered: 08!‘14!2013)

 

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MOTION for clarification re 311 Order on Motion to Strike undji)r rr Written Opinion by
Angela W. DeBose. (Attachments: # l Exlribit Exhibit A - Accurate 07:'15/2015
Shredding)(DeBose, Angela) (Entered: 08!1 51"201 8)

 

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NOTICE`. by University of South Florida Board of Trustees fn Opposil‘ion to Pirrirrti]j"s
Moiionfor‘ Clarificarion [Doc', 314] (Attaclunents: # _L Exhibit A)(McCrea, Richard}
(Eritered: 03.1'16!'20]8)

 

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NOTICE OF APPEAL as to 296 Order on Motion for Reconsideration, 293 Urder on m
Motion for Sanctions by Angela W. DeBose. Filing fee not paid. (DeBose, Angelal
(Entered: 03!18!2013)

 

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emergency MorioN m modify andre clarify the hague 14, 2013 Prariai order 'by
Angela W. DeBose. (DeBose, Angela) (Entered: 08,"19/2013)

 

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srs

 

ENDORSED ORDER REFERRING MOTION: 3_11 Emergency MOTION to
modify auditor Clarify the August 14, 2018 Pretrial Order filed by Angela W.
DeBose. Signed by Judge Elizabetli A.. Kovaelrevich on 81191‘20]3. (RLH) Motiorrs
referred to Magistrate Judge Antboriy E. Porcelli. (Entered: 08119/2018)

 

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TRANSMITTAL of initial appeal package to USCA consisting of copies of notice of
appeal, docket sheet, orderijudgment being appealed, and motion, if applicable to USCA
re 3_1_& Notice of appeal. Eleverith Circuit Transcript information form forwarded to pro

se litigants and available to counsel at www.flmd.uscourts.gov under Forms and
Pub|icationsiGeneral. (LNR) (Bntered: 08:"20/2013)

 

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MOTION in limine regarding Alleged Policy Violations by USF Board of Trustees,
University of South Florida, University of South Florida Board of Trustees.
(Attachments: # l Exhibit 1 - USF Regulation Providing and Obtaining Employmerit
Reference lnfonnation, # 2 Exhibit 2 - USF Regulation Separations from Emp|oyment)
{McCrea, Richard) (Entered: 08:"20!2[)18)

 

 

 

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Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 24 of 34 Page|D 9520

Exhibit

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
ANGELA W. DEBOSE,
Plaintifi`,
v. Casc No. 8:15~cv-2?8?-T-1?AEP
USF BOARD OF TRUSTEES,
et oi.,
Defendants.
f
ORDER

'l`his cause is before the Court upon Plaintiii"s Motion for Clariiication and a Written
Opinion of the Court*s Order Denying the Motion to St:rike Aiiidavits as a Sbam. for Sanctions,
and Default .1 udgment [“Motion”) (Doc. 314). By the Motion, Plaintiii` requests a written order
in lieu of the Court’s Order (Doc. 3 l 1] denying for the reasons stated at the Pretrial Conference
Plaintitt`s Motion to Strike Defendant`s AHidavits as a Sha.m, for Sanctions, and for Det`ault
Judgement (“‘Original Motion”) (Doc. 295}. Plaintit’l` asserts that her Original Motion (Doc-
295) presented the Court with “new evidence, including the April 12, 2018 Swom Police
Statement of Kimberly Bushe Whiteman; July 18, 2018 Deposition of Delonjie Tyson; July 28,
2018 Ai`iidavit of Delonjie Tyson; and verbal testimony concerning the Invoice from Accurate
Paper Cornpany, Inc.” {Doc. 314 1| 2). As stated by the Court in denying the Plaintiff’s Original
Motion (Doc. 295) during the Pret:ria] Conference, the Court finds that the Original Motion
(Doc. 295) is a thinly veiled attempt to have the Court revisit a prior Order (“Original Order”)
(Doc. 144), which denied Plaintiii" s request for sanctions based upon allegations of spoliation
of evidence. ln essence, the Court concluded in the Originai Order (Doc. 144) that sanctions

were not warranted because the Defendant had not acted in bad faith based upon a finding that

 

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the sworn statements of Suzanne Bishop, Lois Palmer, and Victoria Johnson (See Doc. 66-1;
66-2; and 66-3) were entirely credible, and that Plaintif`f` failed to establish the requisite
prejudice by failing to demonstrate how any of` the alleged destroyed information was crucial
to her case (Doc. 144 at ?-1 1).

The crux of Plaintifl’s Original Motion (Doc. 295) is that her “new evidence”
established that the sworn statements of Bishop, Palmer, and Johnson are perjurious At issue
is the alleged date of when the shredding of documents occurred: either in October 2015, or in
the Summer of 201 5. Collective|y, Bishop, Palrner, and Johnson attested that the shredding of`
documents occurred in Octobcr 2015. However, Tyson testified that the shredding occurred in
the Summer of 2015. As an initial matter, the Court is unpersuaded that Plaintif't`s “new
evidence” is in fact new. Rather, Plaintiff` had already presented evidence that the shredding
occurred in the Summer of 2015 in an affidavit by Tyson (Doc. 61-4] and an affidavit by
Vanessa Centelles (Doc. 61-3).' And, the Court stated in the Original Order that “in the
[S]urnmer of 2015 Plaintif’f’s departmental personnel file was shredded” (Doc. 144 at ?).
Significantly, the Court finds that the exact date of when the shredding occurred is not material
to the Court’s credibility findings regarding the sworn statements of Bishop, Pa]mer, and
Johnson. Simply stated, the Court is unpersuaded by Plaintiff’s “new evidence” and still finds
that the sworn statements by Bishop, Palrner1 and Johnson are credible. Thus, for the reasons
previously stated in the Original Order (Doc. 144), the Court reiterates that Defendant did not

act in bad faith in the shredding of the documents at issue. Additionally, as Defendant correctly

 

' After the Pretrial Conference, Plaintiff did file f`or the first time an invoice from Accurate
Paper Recycling, Inc. dated June 15, 2015 (Doc. No. 314-1). fn response, Defendant filed an
invoice from ShredQuick dated Gctober 13, 2015 (Doc. No. 315-1). Notably, the ShredQuick
invoice does reference the Registrar’s Office, while the Accurate Paper Recycling invoice
does not. Regardless, the Court finds no value in either invoice because they fail to establish
from the face ofthe documents a connection to the shredding at issue in this case.

 

 

 

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asserted, even assuming arguendo that Plaintiff’s “new evidence" infringed upon the Court’s
finding of no bad faith, Plaintiff"s “new evidencc” in no way impacts the Court’s previous
finding in the Original Order (Doc. 144) that Plaintiff failed to establish the requisite prejudice
by demonstrating the alleged spoliated information was crucial to her case.

Accordingly, upon careful consideration it is ORDERED that Plaintiff’s Motion for
Clarification and a Written Opinion of the Court's Order Denying the Motion to Strike
Affidavits as a Sham, for Sanctions, and Default Judgment (“Motion“) (Doc. 314) is
GRANTED to the extent that the Court reiterates its oral findings during the Pretrial
Conference on August 14, 2018, incorporates its prior findings from the Original Order (Doc.
144), and provides the above findings

none AND onor:nr:o in Tempe, Flerida, en this net day er Adguet 2013.

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/te fe _, ,.: -/-
antnon.v E. fERCELLl
Uniteo States Magistrate Jodgo

cc: Counsel of Record
Plaintiff, pro se

 

 

Case 8:15-cv-02787-EAK-AEP Document 532 Filed 12/11/18 Page 28 of 34 Page|D 9524

Exhibit

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UNITEI] STATES DISTRICT COURT
M]DDLE DISTR.ICT OF FLORIDA
TAMPA DIVISION
ANGELA W. DEBOSE,
Plaintiff.
v. Case No.: 8:15-cv-2787-T-17AEP
UNIVERSITY OF SDUTH FLORJDA BOARD
OF TRUSTEES and ELLUCIAN COMPANY,
L_P.

Defendants.
MWM£L\MAS_E
Deeision by Court. This action came before the Court and a decision has been rendered.
IT IS ORDERED A_ND ADJUDGED that pursuant to the Court’s Order entered
September 29, 201?, judgment is hereby entered in favor of Defendant Ellucian Company, L.P.,
and against Plaintiff Angela DeBose on Plaintif‘f’s tortious interference and civil conspiracy

claims.

ELIZABETH M. WARREN,
CLERK

sl'src1 Deputy Clerk

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l. M: Courts of Appeais have jurisdiction conferred and strictly limited by statutc:

{a.} Appeals from null orders pursuant to 28 U.S.C. Seetion 1291: Only final orders and judgments of district
courts, or final orders of bankruptcy cotu'ts which have been appealed to and fully resolved by a district court
under 28 U.S.C. Scciion 158, generally arc appealable A final decision is one that “cnds thc litigation on thc
merits and leaves nothing for the court to do but execute thcjudgment.” EMM_MQM 101
F.2d 1365, 1368 (l lth Cir_ 1983). A magistratcjudgc's report and recommende is not final and appealable
until judgment thereon is entech by a district courtj.udge. 28 U.S.C. Seci.ion 636¢_`\:).

(l‘J) ln cases involving multiple parties or multiple elaims, ajudgment as to fewer than all parties or all claims
is not n final, appealable decision unless lfn: district court has codified lite judgment for immediate review
under Fed.R.Civ. P. 54(11), §Ii|iiams_y_._&`|shop,_'l£ F. 2d 885 885 ltd (l llh Cir. 1984). A judgment which
resolves all issues except matters such as atiomcys' fees and costs, that arc collateral to the mcrfts, is
immediately nppealabte.m|dmj§h_w_gmg_§£g, 486U..S 196 201 1088. Ct. lT!‘? 1721-22,
100 L.Ed.2d 1‘?8 (1988];La,(_`,‘]1g|1L;¢;L\[,_L'lofitL`s_[lra,i],_l;lpj.ts_c,I_ncn 146 F. 3d 831, 837(1||:11 Cir.1998]_

(C) Appelll pursuant to 28 U.S.C. Scction 1292{11}: Appeals ore permitted from orders “granting, continuing
modifyingd refusing or dissolving injunctions or refusing to dissolve or modify injunctions..." and from
“Ii]ntcrlocutory dccrccs...dctcrmining ll'tc rights and liabilities of parties to admiralty cases in which appeals
from final decrees nrc nllowed.” [ntc'llocutory appeals from orders denying temporary restraining orders arc
not pormittcl:l.

(d) Appeal.l pursuant to 28 U.S.C. Sectiou ll‘.u{b} aid F¢d.R.App.P.S: The certification specified in 28 U.S.C.
Scclion 1292(b`,l must bc obtained before a petition for permission to appeal is filed in the Court of Appcois.
The district court’s denial of a motion for certification is not itself appealable

(E) Appeals pursuant to judicially created exceptions to the finality rule: l imiled exceptions arc discussed' m
cases including but not limited to: §ohcn_\[._B_mcfic|aL[ndus._Loan£om., 33‘1~t U. S 541 546.69 S Ct. 1221
1225-26 93L.Ed.1528[1949);i'-__. '

F zero station ctr lass).g_tgmsam@m,mos its rsrsss. ci. sos 312,
rsLEd.zd 199(1964).

 

2. mine timely filing of a notice of appeal is mandatory and jurisdictional. Binaldp_'¢.§_o_[mtt. 256 F.3d
12'1'6, 1213{1 lth Cir. 2001}. in civil cases, Fed.R.App.P.‘ita} and (c) set the following time limits: l

(El.) Fed.ILApp.P. 4{1]|_'|]: A notice of appeal in compliance with the requirements set forth in fied.R.App.F. 3
must be filed in the district court within 30 days after the entry of lhe order or judgment dppmled from.
Howl:.'vcr, if thc Unilcd Stalca or an officer or agency thereof in n pnl'l.y, the notice of appeal niusl. bc filed in
the district court within 60 days after such cnl.ry. THE NOTICE MUST BE RE-CEI‘VED Al'|lll) FILED lN
THE DlSTRlCT COURT N{) LATER THAN THE LAST DAY DF THE API*EAL I_'ERIOD - no
ldditiouul days arc provided fur mailing Spccia] filing provisions for inmates arc discusscdilbelowt

[b] Fed.R.App.P. 4£»)(3);“1!'0:1¢ party timely tiles o notice ofappeal, any other party nmy tile a notice of appeal
within 14 days after tile date when thc first notice was filcd, or within the time otherwise prescribed by this
Rule 4(:1}, whichever period ends lutcr.”

(C) Fed.R.App.l'.¢l{u}[¢i'}: lf any party makes a timely motion in the district court under the chcral Rulcs ofCivii
Proccdurc of a type specified in this ruic, the time for appeal for all parties runs from the date of entry of the
order disposing of the last such timely filed motion

((l) Fed.R.App.P.-l(u](§`_l and 4{¢}(6}: Undcr certain limilcd circumstanccs, the district court may extend the time
to tile n notice of appeal. Under Rulc 4{a)[5}, the time may he extended if a motion for an extension is filed
within 30 days after expiration of the time otherwise provided to file a notice of appeal, upon n showing of
excusable neglect or good causc. Undcr Rulc 4(\1}(6), the time may bc extended ifthc district court finds upon

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motion that a party did not timely receive notice of the entry of the judgment or order, and that no party would
be prejudiced by an extension.

(e) Fnr.rt.spp.r'.t(¢i; if an tamm monell to an institution nies a notice cf appear in elmer a civil case er a
criminal case, the notice of appeal is timely it` it is deposited in the institution‘s internal mail system on or
before the last day for filing 'l`imcly filing may be shown by a declaration in compliance with 28 U.S.C.
Scction 1746 or a notarized statenan either of which must set f'onlr the date of deposit and state that first-

eiass postage has been prepaid.

3. MMM: Forrn l ,Appenr|ix ot' Forrns to the Federal Rules ot`Appellate Procedure is a suitable
format. See also Fed. R. App. P. 3{e). A gm grantee of appeal must be signed by tire appellant

 

4. MM: A district court loses jurisdiction {authority) to act after die filing of a timely notice of
appeal, except for actions in aid of appellate jurisdiction or to rule on a timely motion of tire type specified in
Fert.n.npp.r=. 4(3)[4).

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UNITED STATES DISTRICT COURT
MIDDLE DISTR]CT OF FLORIDA
TAMPA DIVISION

ANGELA W. DEBOSE,
Plaintiff,

v. Case No.: 8:15-cv-2'?8?-EAK-AEP
UNIVERSITY OF SOUTI-I FLORlDA BOARD

OF TRUSTEES and ELLUCIAN COMPANY,
L.P.

Defendants.
JU]]GM'ENT IN A CIVIL CASE

Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict

IT IS ORDERED AND AD.IUDGED that judgment is entered in favor ofPlaintiffAngela
DeBose in the amount of$310,500.00 and against Defendant University of South Florida Board
of Trustees on Plaintiff"s disparate treatment race discrimination and retaliation claims1 in
accordance with the jnry’s verdict
Decision by Court. This action came before the Court and a decision has been renderedl

lT IS FUR'I’HER ORDERED AND AD.IUDGED that pursuant to the Court’s Order
entered September 29, 201 T, judgment is hereby entered in favor ofDef`endant University of South
Florida Board of Trustees and against Plaintif`i` on Plaintif`i`s disparate treatment gender
discrimination, disparate impact race and gender discrimination, breach of contract, tortious
interference1 and civil conspiracy claims.

ELIZABETH M. WARREN,
CLERK

s/src, Depury Clerk

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UNITED STATES DISTRICT COURT
MII)DLE I)ISTRICT OF FLORIDA
TAMPA DIVISION

ANGELA W. DEBOSE,
Plaintit`f,
v. Case No.: B:l S-cv-Z'lE?-T-]?AEP

UNIVERSITY OF SOUTH FLOR]DA BOARD
OF TRUS'I`EES and EI..LUCIAN COMPANY,

 

L.P.
Defendants.
Al\[ENI)ED JUDGMENT IN A CIVIL CASE
Jury Verdict. This action came before the Court for a trial by jury. The issues have been

tried and the jury has rendered its verdict
IT IS ORDERED AND ADJUDGED that j udgment is entered in favor ol` PlaintiffAngcla
DeBOSe in the amount of $31{),500.00 and against Defendant Urliversity of` South Florida Board
of Trustees on Plaintiff"s retaliation claim, in accordance with the jury’s verdict.
l'l` IS FURTHER ORDERED AND ADJUI)GED that judgment is entered in favor of
Plaintiff and against Defendant University of South Florida Board of Trustees on her disparate
treatment race discrimination claim, in accordance with the jtu*y’s verdict; Pla.intiff takes nothing

on her claim for compensatory or back pay damages

 

 
   
   
 

 
   
   
  

Decisl’on by Court. This action came before the Court and a decision has been rendered.
IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Urder entered
September 29, 201 7, judgment is hereby entered in favor of Defendant University of South Florida

Board of Trustees and against Plaintifl` on Plaintif’t"s disparate treatment gender discrimination,

 

 

 

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Case Ne.: s;ls-cv-z?s?-EAK~AEP

__.-`

    
   

disparate impact race and gender discrimination, breach ofcontract, tortious interference and civil

conspiracy claims

 

ELIZABETH M. WARREN,
CLERK

s!src, Deputy Cierk

